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9                                  IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                            CASE NO. 1:16-CR-00122-DAD-BAM

12                                Plaintiff,              STIPULATION AND ORDER TO CONTINUE
                                                          STATUS CONFERENCE
13                          v.

14   RAFAEL DeLaTORRE,

15                               Defendants.

16

17          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

18   Kimberly A. Sanchez, Assistant U.S. Attorney and Dale Blickenstaff, attorney for the defendant, that the

19   status conference set for May 15, 2017 at 10:00 am before the Honorable Dale A. Drozd be continued to

20   May 22, 2017 at 10:00 a.m. The reason for the request is for the government to have additional time to

21   review options for an evaluation and respond to the Defendant’s Memorandum in Support of a Local

22   Examination.

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       Stipulation                                        1
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1            The parties further request the Court to enter an Order finding that the "ends of justice" served by a

2    continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

3    May 22, 2017 is excluded from the Act's time limits pursuant to 18 U.S.C. § 3161(h)(7)(A).

4

5            Dated: May 12, 2017                             Respectfully submitted,

6                                                                    PHILLIP A. TALBERT
                                                                     United States Attorney
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8
                                                             By      /s/ Kimberly A. Sanchez
9                                                                    KIMBERLY A. SANCHEZ
                                                                     Assistant U.S. Attorney
10
             Dated: May 12, 2017                                     /s/ Dale A. Blickenstaff
11                                                                   DALE A. BLICKENSTAFF
                                                                     Attorney for Defendant
12

13                                                      ORDER

14           The Court has reviewed and considered the stipulation of the parties to continue the status conference

15   in this case. Good cause appearing, the status conference as to Rafael Delatorre currently set for May 16,

16   2017, is continued to May 22, 2017, at 10:00am. The time period between May 15, 2017 and May 22, 2017

17   is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv), as the ends

18   of justice served by granting the continuance outweigh the best interest of the public and the defendant in a

19   speedy trial.

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     IT IS SO ORDERED.
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         Dated:      May 12, 2017
                                                          UNITED STATES DISTRICT JUDGE
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       Stipulation                                          2
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